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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

         v.                                        CRIMINAL No. 19-CR-10459-RWZ

 MICHAEL CECCHETELLI, et. al.,

            Defendant


              GOVERNMENT’S SECOND PRELIMINARY STATUS REPORT OF
                         PROPOSED TRIAL GROUPINGS

        In response to the Court’s request at the last status conference, the government files the

following list of preliminary proposed trial groups specifying groups of two Defendants. The

government hereby complies with that request, with the understanding that some of the groups

contain three Defendants, and will necessarily be subject to amendment in the coming weeks in

order to account for Defendants pleading guilty.

        As a general matter, fifteen Defendants have pled guilty, and multiple Defendants are

scheduled to plead guilty or are in the process of scheduling their guilty plea. These Defendants

are not set forth in this report. 1

        The government is also engaged in active plea discussions with approximately fifteen of

the remaining Defendants. These Defendants are set forth in this report. The government

anticipates a good number of the remaining Defendants will change their plea in the coming

weeks. Additionally, many Defendants are capable of inclusion in multiple trial groups. In the




        1
            These Defendants are Raekwan Paris, Ines Lugo, and Dairon Rivera.
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event that a trial group has an open slot, the government anticipates proposing that certain

Defendants take those positions, if the circumstances permit.


Massachusetts State Team \ North Shore \ Lowell
   1. Michael Cecchetelli
   2. Esther Ortiz

   1. Gregory Peguero-Colon
   2. Alfred Nieves

   1. Israel Rodriguez
   2. Juan Liberato

Massachusetts State Team \ Morton Street Bricks
   1. Angel Roldan
   2. Angel Calderon
   3. Alexis Velasquez

   1. Francisco Lopez
   2. Michael Marrero

Mass DOC Group
   1. Frutuoso Barros
   2. Shaun Harrison
   3. Vincent Dzierwinski

D5K Group
  1. Steven Familia Valdez
  2. Robert Lara
  3. Angel Rodriguez

New Bedford Trial Groups
  1. Michael Cotto
  2. Kevin Guadalupe

   1. Jose Rodriguez
   2. Robert Avitabile
   3. Luis Mendez

   1. Orlando Santiago-Torres
   2. Natanael Velasquez

   1. Issac Felix-Rivera
   2. Roberto Vargas
                                                 2
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    1. Tanairy Ruiz
    2. Jose Vasquez

    1. Jeremia Medina
    2. Tyson Jorge

Drug Conspiracy, Count 4
   1. Sophia Velasquez

Felon in Possession, Count 5
    1. Hector Adorno

Drug Conspiracy, Count 6
   1. Jesus Diaz

Felon in Possession, Count 7
    1. Jonathan Cassiano

Felon in Possession, Count 9
    1. Derek Southworth


                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

                                               By:    /s/ Philip A. Mallard
                                                      Philip A. Mallard
                                                      Assistant United States Attorney

                                 CERTIFICATE OF SERVICE

I, Philip A. Mallard, hereby certify that the foregoing was filed through the Electronic Court
Filing system and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing.

Date: October 7, 2020                                 /s/ Philip A. Mallard
                                                      Philip A. Mallard
                                                      Assistant United States Attorney




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